              Case 2:15-cr-00131-TLN Document 264 Filed 09/06/17 Page 1 of 4


 1 PHILLIP A. TALBERT
   United States Attorney
 2 SAMUEL WONG
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2772
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-131-TLN

12                                 Plaintiff,            STIPULATION AND ORDER CONTINUING
                                                         STATUS CONFERENCE HEARING DATE AS
13                          v.                           TO DEFENDANTS LEOBARDO MARTINEZ-
                                                         CARRANZA, BRADLEY GENE WARD, AND
14   JOSE MANUEL VALDEZ-TORRES, ET AL.,                  WILLIAM JAMES WELCH ONLY AND
                                                         EXCLUDING TIME UNDER THE SPEEDY
15                                 Defendants.           TRIAL ACT

16
                                                         Court: Hon. Troy L. Nunley
17

18

19          Whereas, defense counsel for each of the remaining defendants who are parties to this stipulation
20 desire additional time to allow them to attempt to resolve pretrial this prosecution as defense counsel

21 need to: (1) review scores of telephone conversations, some of which are in Spanish language and

22 others in the English language and often in alleged code, related to alleged multiple drug transactions;

23 (2) review Sentencing Guidelines calculations with their respective clients; and (3) explain the

24 ramifications and consequences of accepting vs. rejecting the plea offers made to their respective client,

25 and

26          Whereas, Jesse Ortiz, counsel for defendant Leobardo Martinez-Carranza, has been preparing for
27 trials and participating in trials for substantial portions in July, August, and September 2017, and has

28 been unavailable to fully work on this case and needs additional time to prepare his client’s defense in

                                                         1
                 Case 2:15-cr-00131-TLN Document 264 Filed 09/06/17 Page 2 of 4


 1 this case.

 2          It is hereby stipulated and agreed by, and between, the United States, on the one hand, and

 3 defendants Leobardo Martinez-Carranza, Bradley Gene Ward, and William James Welch, through their

 4 respective counsel that:

 5          1.       The presently set September 7, 2017, status conference hearing as to these defendants

 6 only shall be continued to October 5, 2017, at 9:30 a.m.

 7          2.       The Court shall find that the denial of the requested continuance would deny respective

 8 counsel for defendants Leobardo Martinez-Carranza, Bradley Gene Ward, and William James Welch the

 9 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

10          3.       The Court shall find that the denial of the requested continuance would deny defendant

11 Leobardo Martinez-Carranza continuity of counsel.

12          4.       The Court shall find that the ends of justice served by the granting of such continuance

13 outweigh the best interests of the public and these defendants in a speedy trial.

14          5.       Pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code T4, the Court shall

15 exclude time from the date of the parties’ stipulation, September 5, 2017, until the proposed October 5,

16 2017, status conference date from computation of time within which the trial of this matter must be

17 commenced to allow each defense counsel time to prepare his/her client's defense, and defendant

18 Leobardo Martinez-Carranza continuity of counsel.

19
     DATED: September 5, 2017                             PHILLIP A. TALBERT
20                                                        United States Attorney

21                                                        /s/ Samuel Wong
                                                   By:
22                                                        SAMUEL WONG
                                                          Assistant United States Attorney
23

24 DATED: September 5, 2017
                                                          /s/ Jesse Ortiz
25                                                 By:
                                                          JESSE ORTIZ
26                                                        Attorney for defendant
                                                          Leobardo Martinez-Carranza
27

28

                                                          2
           Case 2:15-cr-00131-TLN Document 264 Filed 09/06/17 Page 3 of 4


 1 DATED: September 5, 2017
                                             /s/ Toni White
 2                                     By:
                                             TONI WHITE
 3                                           Attorney for defendant
                                             Bradley Gene Ward
 4

 5 DATED: September 5, 2017
                                             /s/ David Grow
 6                                     By:
                                             DAVID GROW
 7                                           Attorney for defendant
                                             William James Welch
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             3
                 Case 2:15-cr-00131-TLN Document 264 Filed 09/06/17 Page 4 of 4


 1
                                                      ORDER
 2

 3
            Pursuant to stipulation of respective counsel for the parties, and good cause appearing therefrom,
 4
     the Court adopts the stipulation of the parties in its entirety as its ORDER.
 5
            The Court hereby finds that:
 6
                     1.     The denial of the requested continuance would deny respective counsel for
 7
            defendants Leobardo Martinez-Carranza, Bradley Gene Ward, and William James Welch the
 8
            reasonable time necessary for effective preparation, taking into account the exercise of due
 9
            diligence, and deny defendant Leobardo Martinez-Carranza continuity of counsel.
10
                     2.     The ends of justice served by the granting of such continuance outweigh the best
11
            interests of the public and these defendants in a speedy trial.
12
            Therefore, it is hereby ORDERED that:
13
            1.       The presently set September 7, 2017, status conference hearing be continued to October
14
            5, 2017, at 9:30 a.m. for these defendants only.
15
             2.      Pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (iv) and Local Code T4, time is excluded
16
     from the date of the parties’ stipulation, September 5, 2017, until the proposed October 5, 2017, status
17
     conference hearing date from computation of time within which the trial of this matter must be
18
     commenced to allow each defense counsel time to prepare his/her client's defense and allow defendant
19
     Leobardo Martinez-Carranza continuity of counsel.
20

21
     DATED: September 5, 2017
22                                                                  Troy L. Nunley
23                                                                  United States District Judge

24

25

26

27

28

                                                          4
